     Case: 1:19-cv-01205 Document #: 14 Filed: 03/21/19 Page 1 of 3 PageID #:32



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


MANUEL VON RIBBECK,

               Plaintiff,                           Case No. 19-cv-1205

v.                                                  Honorable John Robert Blakey

CHRISTINE NEGRONI,                                  Magistrate Judge Mary M. Rowland

               Defendant.


            DEFENDANT CHRISTINE NEGRONI’S RULE 12(B)(2) AND 12(B)(6)
              MOTION TO DISMISS AND SPECIAL MOTION TO DISMISS
                   PURSUANT TO CONN. GEN. STAT. § 52-196A

       Defendant Christine Negroni respectfully requests that this Court dismiss Plaintiff

Manuel von Ribbeck’s First Amended Complaint for lack of personal jurisdiction, or, in the

alternative, that the Court dismiss Plaintiff’s complaint with prejudice or grant defendant’s

special motion to dismiss pursuant to Conn Gen. Stat. § 52-196A. In support of this motion,

Defendant states as follows:

       1.      Defendant does not live in or conduct business in Illinois, and she did not

expressly aim her blog post at Illinois or otherwise do anything to avail herself of this forum.

Accordingly, this Court does not have personal jurisdiction over Defendant.

       2.      Even if the Court were to determine that it has jurisdiction over Defendant,

Plaintiff’s claims fail for multiple, independent reasons. Plaintiff alleges that three statements in

Ms. Negroni’s blog post are defamatory. Each statement is susceptible to at least two well-

established defenses, including the fair report privilege, the substantial truth doctrine, the

innocent construction rule, and the Constitutionally based protections for opinion. Plaintiff also

must plead actual malice, and he has not done so properly. Plaintiff’s ancillary claim for
     Case: 1:19-cv-01205 Document #: 14 Filed: 03/21/19 Page 2 of 3 PageID #:33



“interference with prospective contractual retention” is simply a re-packaging of his deficient

defamation claim and must fail as well.

       3.      Finally, the Court will recognize that this lawsuit is a classic “SLAPP” suit. His

complaint strikes at the core of the Connecticut anti-SLAPP law’s protection of free speech, and

Plaintiff cannot show probable cause, considering all of Defendant’s defenses, why he would

prevail on the merits.

       WHEREFORE, for the reasons set forth herein and in the accompanying memorandum of

law, Defendant Christine Negroni respectfully requests that this Court dismiss all of Plaintiff’s

claims against her pursuant to Fed. R. Civ. P. 12(b)(2) and grant such and further relief this

Court deems just and proper. Alternatively, Ms. Negroni respectfully requests that the Court

dismiss all counts of the complaint against her with prejudice pursuant to Fed. R. Civ. P. 12(b)(6)

and/or grant her special motion to dismiss pursuant to Conn. Gen. Stat. § 52-196a, dismissing all

claims against her and awarding her the costs and reasonable attorneys’ fees she incurred in

connection with the filing of the special motion to dismiss.



Dated: March 21, 2019                              Respectfully submitted,

                                                   CHRISTINE NEGRONI

                                                   By:   /s/ Steven P. Mandell
                                                          One of her attorneys

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     Case: 1:19-cv-01205 Document #: 14 Filed: 03/21/19 Page 3 of 3 PageID #:34



                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that a true and correct copy of the foregoing

has been served on March 21, 2019 via Court’s CM/ECF system on all counsel of record who

have consented to electronic service.


                                                         /s/ Steven P. Mandell
